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       Tlie foregoing irrsliumfenl was subscribed and sworn before me thiS'      I certify that the above Notary
                   day of fnCyC^              ■ 20                                       not a party to this action
           (f^ame ^ person seekmg acknowiidgement)                                                     Sii±L



           My Commission expires:    /
           Notary Reg. No f         )                 ^
